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                              UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION



 TERVES,LLC,                                            CASE NO. 1:19 CV 1611



                 Plaintiff,                            JUDGE DONALD C. NUGENT



  YUEYANG AEROSPACE NEW                                MEMORANDUM OPINION
 MATERIALS,CO., LTD., et al.                           AND ORDER


                 Defendant.



         This matter is before the Court on Terves' Motion to Tax Costs and Award Prejudgment

 Interest, submitted pursuant to Fed. R. Civ. P. 54, and 28 U.S.C. § 1920, and 35 U.S.C. §284.

 (ECF #213). Defendants have not filed any timely opposition to Plaintiffs request.

                                               COSTS


         Rule 54(d)(1) ofthe Federal Rules of Civil Procedure provides that "costs other than

  attorneys'fees shall be allowed as of course to the prevailing party unless the court otherwise

  directs." FED. R. CiV. P. 54(d)(1). "This language creates a presxunption in favor ofawarding

  costs, but allows denial of costs at the discretion ofthe trial court." Soberay Mack & Equipment

  Co. V. MRFLtd., Inc., 181 F.3d 759, 770(6th Cir. 1999)(quoting White & White, Inc. V.

  American Hospital Supply Corp.,786 F.2d 728, 730(6th Cir.1986)). This Court awarded costs

  to the Plaintiff as part of its judgment following the jury verdict. (ECF #203).
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         28 U.S.C. § 1920 sets forth the expenses that may be taxed as eosts:

          (1)     Fees ofthe clerk and marshal;
          (2)     Fees ofthe court reporter for all or part ofthe stenographic
                  transcript necessarily obtained for use in the ease;
          (3)     Fees and disbursements for printing and witnesses;
          (4)     Fees for exemplification and copies of papers necessarily
                  obtained for use in the ease;
          (5)     Docket fees under 1923 ofthis title;
          (6)     Compensation of court appointed experts, compensation of
                  interpreters, and salaries, fees, expenses, and costs of
                  special interpretation services under section 1828 ofthis
                  title.


         Terves has requested compensation in the amount of$35,195.49 for eosts incurred

 imder sections 1,2,4, and 6 of Section 1920. It electronically submitted a bill ofcosts

 including a declaration, made by Terves' attomey under oath, attesting (1)that the

 requested eosts are correct and were necessarily incurred in the action; and,(2)that the

 requested fees were charged for services actually and necessarily performed in furtherance

 ofthe ease. (ECF #213-2, Ex. A). Defendants have offered no objection or opposition to

 the amounts requested. Therefore, the Coiut finds these costs fees to be reasonable and

 necessary, and properly taxed to the Plaintiff in this ease.

                               PREJUDGMENT INTEREST


        In patent infringement eases,"prejudgment interest should ordinarily be awarded

 where necessary to afford the plaintifffull compensation for the infringement."

 Schwendimann v. Arkwright Adv. Coating, Inc., 959 F.3d 1065, 1076(Fed. Cir.

 2020)(quoting General Motors Corp. v. Devex Corp.,461 U.S. 648,654(1983)). Interest

 should typically be awarded from the date ofthe infringement to the date ofthe judgment.

 Niekson Indus., Inc. v. Rol Mfg. Co., 847 F.2d 795, 800(Fed. Cir. 1988).
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        Terves' damages expert, David A. Haas, calculated prejudgment interest using the

 prime rate compounded quarterly. The Federal Circuit has long approved using this

 method for the calculation of prejudgment interest in patent cases. See, e.g.,

 Studiengesellschaft Kohle, MBHv. Dart Indus., 862 F.2d 1564(Fed. Cir. 1988). Using

 this rate, Terves' calculated an amount of $51,297.00, as the total prejudgment interest for a

 damages period from June 25, 2019 through June 30, 2021. Defendants have offered no

 opposition to this calculation.

        For the reasons set forth above. Plaintiff, Terves' Motion to Tax Costs and Award

 Prejudgment Interest is GRANTED. (ECF #213). A total of$35,195.49 in costs and fees

 shall be added to the judgment previously issued on April 28, 2022,(ECF #203).

 Prejudgment interest in the amount of $51,297.00 is also awarded. When these amounts

 are added to the jury's verdict of $707,207.00, the total judgment amount awarded in favor

 ofPlaintiff and against Defendants Ecometal Inc., and Nick Yuan is $793,699.49.

        IT IS SO ORDERED.




                                              Judge Donald C. Nugenty
                                              UNITED STATES DISTRICT JUDGE


 DATED:
